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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                   (Southern Division)

MICHAEL T. PARKER
PATRICE PARKER
  On behalf of themselves individually and
  similarly situated persons.

     Plaintiffs
                                                    Civil Case: 8:20-cv-03581-GJH
v.

GOLDMAN SACHS MORTGAGE
COMPANY LIMITED PARTNERSHIP
And
                                                    Jury Trial Demand
NEWREZ LLC d/b/a SHELLPOINT
MORTGAGE SERVICING

     Defendants


                        AMENDED CLASS ACTION COMPLAINT1,2


         Plaintiffs Michael and Patrice Parker (“Parkers” or “Named Plaintiffs”), on their individ-

ual behalf and on behalf of similarly situated individuals defined infra, by their attorneys, Phillip

R. Robinson and the Consumer Law Center LLC and pursuant to Fed.R.Civ.P. 23, sue Goldman

Sachs Mortgage Company Limited Partnership d/b/a Goldman Sachs Mortgage Company (“Gold-

man Sachs”) and NewRez LLC (f/k/a New Penn Financial, LLC) d/b/a Shellpoint Mortgage




1       Attached hereto as Exhibit 1 is a comparison copy of the changes made herein from the
original Complaint. ECF. 1.
2       Plaintiffs are permitted as a matter of course to file this amending pleading. Fed. R. Civ.
P. 15(a)(1)(B).
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Servicing (“Shellpoint”)(collectively “Defendants”), demand a trial by Jury on all counts for

which a right to trial by jury is allowed and, in support of their Amended Class Action Complaint,

state:

                                           INTRODUCTION

         1.       This case concerns the Defendants’ illegal fee harvesting program to generate sub-

stantial revenue they are not entitled to collect as a matter of Maryland law, Maryland regulations,

and the contracts governing the relations between Named Plaintiffs and the putative class members

and the owners of their mortgage loans which incorporate Maryland law, regulations, and judicial

decisions.      Maryland law and regulatory guidance expressly prohibits the Defendants’ churning

of property inspection fees subject to this Amended Class Action Complaint related to the mort-

gages of the Parkers and the putative class members, but Goldman Sachs and Shellpoint wish to

continue their illegal fee harvesting program unchecked, and while doing so unfairly, improperly,

and deceptively increasing the cost of mortgages for borrowers.

         2.       In instances such as the underlying matters involving Shellpoint and Goldman

Sachs, the mortgage servicer and assignee place their interest and pattern of unsafe and unsound

mortgage service practices above the remedial rights of homeowners and consumers. Moreover,

Shellpoint and Goldman Sachs unfairly and deceptively ignore their statutory and contractual du-

ties including those which were agreed to as part of their licenses to legally operate in the State of

Maryland. Further, not only are the Parkers and other similar consumers harmed by Defendants’

conduct, but so also are honest businesses who follow the law but are placed at a competitive

disadvantage by the Defendants’ flagrant violations described infra.

         3.       As part of the fee harvesting program, the Defendants have imposed and collected

property inspection fees from the Plaintiffs and certain putative class members without the right



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to do so. Maryland law specifically provides that “a lender may not impose a lender's inspection

fee in connection with a loan secured by residential real property.” COM. LAW § 12-121(b). See

also Taylor v. Friedman, 344 Md. 572, 584 (1997)(“For the foregoing reasons we conclude that

the legislative history does not so clearly demonstrate a purpose to limit the prohibition of § 12–

121 to closing costs as to override the plain language of the statute”).

                                     JURISDICTION AND VENUE

        4.        Upon information and belief this Court has jurisdiction for the claims asserted

herein pursuant to the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d), 1453. This good

faith belief is based upon the sworn testimony of the Defendants and the statements of their counsel

pursuant to Fed.R.Civ.P. 11, including the following papers filed in this action and incorporated

by this reference: (i) ECF. 1, Notice of Removal, (ii) ECF 1-5, Affidavit of Amber Knight Costello,

and (iii) ECF. 6, Defendants’ Responses to Standing Order Concerning Removal. Further, the

Court may elect to retain supplemental jurisdiction over the MCPA and MCDCA state law claims

pursuant to 28 U.S.C. § 1369 since those claims are so related to the claims under Count I that are

subject to CAFA jurisdiction and since they form part of the same case and controversy. Alter-

natively, if it is found at a later time that the Court does not have jurisdiction, this action should be

remanded to the state court pursuant to 28 U.S.C. § 1447(c).

        5.       Shellpoint and Goldman Sachs transact business, perform work in, have interest in

real property, and provide services in Maryland.       See e.g. Pacific Mortg. and Inv. Group, Ltd. v.

Horn, 100 Md.App. 311, 324 (Md.App.,1994)(a person who “buys and sells [] mortgage liens has

done more than merely transacted business…but has, in fact, carried on a regular business”).




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       6.       This Court also has jurisdiction for the claims asserted because the injuries caused

by Shellpoint and Goldman Sachs to the Plaintiffs and certain of the putative class members oc-

curred in Maryland.

                                             PARTIES

       7.       Plaintiffs Michael and Patrice Parker (“Parkers” or “Named Plaintiffs”) are natural

persons who own the real property known as 6714 Berkshire Dr. in Temple Hills, MD 20748-

4029 (“Parker Property”). The Parkers are also the borrowers on the mortgage loan subject to this

action which is associated with the Parker Property and was utilized entirely for personal, con-

sumer purposes (“Parker Loan”). The Parker Loan is a federally related mortgage.

       8.        Shellpoint is a wholly-owned subsidiary of Shellpoint Partners LLC, a Delaware

limited liability company. Shellpoint Partners LLC is wholly-owned by NRM Acquisition LLC

and NRM Acquisition II LLC, both of which are Delaware limited liability companies. Both NRM

Acquisition entities are wholly-owned by New Residential Mortgage LLC, a Delaware limited

liability company. New Residential Mortgage LLC is wholly-owned by New Residential Invest-

ment Corporation, a Delaware corporation. New Residential Investment Corporation is publicly

traded on the New York Stock Exchange under the ticker symbol NRZ. In addition:

                a.     NRZ advertises on its website the reason why it is focused on Shellpoint’s

business model which acquires the mortgage servicing rights from others. “A mortgage servicing

right (MSR) provides a mortgage servicer with the right to service a pool of residential mortgage

loans in exchange for a portion of the interest payments made on the underlying residential mort-

gage loans. Advances are required capital outlays by the servicer to fund missed payments from

delinquent borrowers and foreclosure-related expenses. The servicer has limited risk of not being

reimbursed for advances, because advances are almost always ‘top of the waterfall’ in the event of



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a property sale” (https://www.newresi.com/about-us). In other words, Shellpoint makes more

money on behalf of NRZ by churning fees and making advances related to borrowers it believes

are delinquent or in foreclosure and there is “limited risk” that those sums will not be reimbursed

to it—even if it has no right to impose the fees and charges in the first instance.

                b.     Shellpoint is a licensed Maryland lender (license number 17710) and is also

a licensed Maryland collection agency (license number 04-7989).

                c.     Shellpoint is a lender as that term is defined in COM. LAW § 12-101(f). See

also Kemp v. Nationstar Mortg. Ass'n, 239 A.3d 798, 814 (2020), cert. granted sub nom. Nation-

star Mortg. LLC v. Kemp, No. 342, SEPT.TERM,2020, 2020 WL 7417427 (Md. Nov. 23, 2020)

(holding that § 12-101(f) applies to both assignees and their agents when the assignees violate

Subtitle 1 of Title 12 of the Commercial Law Article themselves after accepting assignment of the

loans governed by those provisions). In addition, as a collector and mortgage servicer acting on

behalf of Goldman Sachs and other owners of mortgage loans, Shellpoint is not entitled to declare

that it may disregard the obligations of its investors and predecessors.

       9.       Goldman Sachs Mortgage Company Limited Partnership d/b/a Goldman Sachs

Mortgage Company (“Goldman Sachs”) was formed under the law of New York but all of its

partners and subsidiaries are unknown. The general partner for Goldman Sachs is the Goldman

Sachs Real Estate Funding Corporation. Goldman Sachs is

                a.     A lender as that term is defined in COM. LAW § 12-101(f). See also Kemp,

239 A.3d at 814;

                b.     Also a maker of mortgage loans by participating in the secondary mortgage

market to acquire loans from others which increases liquidity to permit more mortgage loans to be

arranged; and



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               c.       A lender who stands in the shoes of others and is bound by the terms and

conditions of the contracts it acquires and is entitled to no greater rights as an assignee than its

assignors had to give it. Here, Goldman Sachs acquired mortgage contracts from others, in relation

to the Parkers and the putative subclass members defined infra, who had agreed that those contracts

would be governed by Maryland law, and Goldman Sachs accepted those terms willingly and

knowingly and may not modify them without the signed, written consent of the Parkers and the

putative subclass members. Neither the Parkers nor the putative subclass members defined infra

have agreed to modify their loan documents (i.e. deeds of trust and mortgage notes) to not incor-

porate Maryland law. In addition, as the assignee, Goldman Sachs has agreed to be bound by the

obligations of its assignors.

                                     FACTUAL ALLEGATIONS

                    General Allegations About Defendants’ Knowledge & Duties

       10.     All persons, including licensed mortgage lender/servicers in the State of Maryland

like Shellpoint, are expected to know the law—including the laws governing their activities. As

part of its license to conduct business in the State of Maryland, Shellpoint “has a duty of good faith

and fair dealing in communications, transactions, and course of dealings with a borrower in con-

nection with the advertisement, solicitation, making, servicing, purchase, or sale of any mortgage

loan.” MD. CODE REGS. 09.03.06.20. The Parkers and other Maryland borrowers like the Parkers

are intended beneficiaries of MD. CODE REGS. 09.03.06.20. All persons doing business in Mary-

land, including Goldman Sachs, are also expected to know the law.

       11.     The Court of Appeals in 2005 recognized that a real estate professional who had no

direct communication with a borrower nevertheless had a duty to the consumer under the Maryland

Consumer Protection Act and Maryland common law to make a “reasonable investigation” of the



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true facts in the real estate transaction on which the borrower (and other parties) would rely in

order to complete the transaction. Hoffman v. Stamper, 385 Md. 1, 867 A.2d 276 (2005). This

duty of care applies to Defendants as their work involves secured, consumer mortgage loans sub-

ject to Maryland and Federal laws such as those discussed herein.

       12.     Pursuant to 12 C.F.R. § 1024.38(b)(1)(i), Shellpoint is required to “[p]rovide accu-

rate and timely disclosures to a borrower as required by [12 C.F.R. § 1024.38] or other applicable

law.” Pursuant to 12 C.F.R. § 1024.35(b)(5), Shellpoint is not permitted to “impos[e]… a fee or

charge that the servicer lacks a reasonable basis to impose upon the borrower.” It is unreasonable

and a violation of its duties for Shellpoint to impose and collect sums barred by Maryland laws,

regulations, and judicial precedent.

       13.     Shellpoint has duties to the Plaintiffs and the putative class members to (i) take

appropriate steps to avoid foreclosure (and not churn the collection of fees and costs not permitted

under the law or actually incurred to drive borrowers toward foreclosure) and (ii) comply with any

other obligation(s) found by the Bureau of Consumer Financial Protection (by regulation) to be

appropriate to carry out the consumer protection purposes of 12 U.S.C.A. § 2605. Amongst these

obligations are the servicer’s duties to comply with state laws and regulations that are not expressly

preempted by RESPA; in other words, Congress and the CFPB expressly intended for RESPA to

work in concert with state regulation. See e.g. 12 U.S.C.A. § 2605(h) and 12 C.F.R. § 1024.33(d)

(expressly limiting preemption to certain notice issues).

       14.     The Maryland Mortgage Fraud Protection Act, REAL PROP. § 7-401, et seq., estab-

lishes a statutory duty upon Defendants to disclose and communicate to mortgage borrowers,

homeowners, and its predecessor servicers with respect to the mortgage lending process in an hon-

est and truthful manner. Ademiluyi v. PennyMac Mortgage Inv. Trust Holdings I, LLC, 929 F.



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Supp. 2d 502, 531 (D. Md. 2013); Castle v. Capital One, N.A., No. CIV.A. WMN-13-1830, 2014

WL 176790, at *5 (D. Md. Jan. 15, 2014; Stovall v. SunTrust Mortgage, Inc., No. CIV.A. RDB-

10-2836, 2011 WL 4402680 (D. Md. Sept. 20, 2011).

       15.     Maryland law specifically provides that “a lender may not impose a lender's inspec-

tion fee in connection with a loan secured by residential real property.” COM. LAW § 12-121(b).

See also Taylor, 344 Md. at 584 (“For the foregoing reasons we conclude that the legislative his-

tory does not so clearly demonstrate a purpose to limit the prohibition of § 12–121 to closing costs

as to override the plain language of the statute”).

       16.     The Office of the Commissioner of Financial Regulation (“OCFR”), as the agency

that licenses Shellpoint to do business in the State of Maryland, expressly prohibits its licensees

including Shellpoint from imposing and collecting property inspection fees from borrowers.

OCFR, as the agency specifically authorized to enforce and regulate Maryland’s mortgage lending

laws, is entitled to deference for its interpretation of those laws. Comm'r of Fin. Regulation v.

Brown, Brown, & Brown, P.C., 449 Md. 345, 359-360 (2016). Over the course of the former and

current administration, OCFR’s analysis of the core issue has not wavered and supports the posi-

tion advanced by the Parkers in this action concerning the unlawful imposition and collection of

property inspection fees pursuant to COM. LAW § 12-121 as evidenced as follows:

               a.      OCFR issued an Industry Advisory on January 7, 2014 informing its licen-

       sees, including Shellpoint, that it was not permitted to impose inspection fees on mortgage

       borrowers. A true and correct copy of the notice is attached as Exhibit 2 to this Amended

       Class Action Complaint and is also publicly available at https://www.dllr.state.md.us/fi-

       nance/advisories/advisory-nonjudicialevictions.pdf.




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              b.      On April 20, 2017 the OCFR issued a Summary Cease and Desist Order to

       Ocwen Loan Servicing LLC (“Ocwen”) and its affiliates on various issues including

       Ocwen’s unfair and deceptive practice, like the practices of Shellpoint subject to this ac-

       tion, which improperly assessed inspection fees against the accounts of borrowers in vio-

       lation of COM. LAW § 12-121, including accounts of borrowers owned by Government-

       Sponsored Enterprises. See Ocwen C&D Order at ¶¶ 79-83. Ocwen recently agreed, on

       February 23, 2018, to a resolution of the OCFR C&D Order and agreed to reimburse bor-

       rowers for the improper assessment and collection of inspection fees by: (i) cash refunds

       for fees paid, (ii) crediting accounts where the fee was assessed but not paid, and (iii) re-

       funding interest incurred when Ocwen capitalized the illegal inspection fees onto borrow-

       ers’ accounts as part of a modification that increased the unpaid principal balance. See

       Ocwen Settlement Agreement at ¶ 26 (available at https://www.dllr.state.md.us/fi-

       nance/consumers/pdf/ocwencd.pdf).

       17.    On May 14, 2018, the Consumer Protection Division in the Office of the Attorney

General for the State of Maryland (“CPD”) agreed to an Assurance of Discontinuance with Na-

tionstar (“Nationstar Assurance”). In the Nationstar Assurance CPD found that the mortgage ser-

vicer had violated the bar on the assessment of inspection fees in COM. LAW. § 12-121 and such

violations constituted violations of the Maryland Consumer Protection Act, COM. LAW. § 13-101,

et seq. (“MCPA”). A copy of the Nationstar Assurance is attached hereto as Exhibit 3. As the

agency charged to enforce the MCPA, the CPD’s position is entitled to deference for its interpre-

tation of the MCPA. Brown, Brown, & Brown P.C., 449 Md. at 359-360.

              a.      In the Nationstar Assurance, Nationstar expressly agreed that its provisions

“shall apply to Nationstar and the company’s…successors, assignees…and all other persons acting



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in concert or participating with any such company” including Shellpoint and Goldman Sachs. Na-

tionstar Assurance at ¶ 16.

               b.      The Nationstar Assurance has never been modified to exempt Shellpoint or

Goldman Sachs from its scope.

       18.     Shellpoint has imposed and collected property inspection fees from other Maryland

borrowers without the right to do and has disregarded all efforts challenging such practices because

it wishes to retain the excessive profits of churning the fees onto the accounts of mortgage bor-

rowers until a court tells it to stop in a final judgment of law. This conclusion is supported in part

by the following:

               a.      The well pled allegations in ¶ 8 supra. See also ECF 1-5, Affidavit of Am-

ber Knight Costello.

               b.      A publicly filed complaint to the OCFR by a Maryland consumer (i.e. com-

plaint number 1075-2019 dated 6/28/2019) which found Shellpoint improperly imposed and col-

lected a property inspection fee from a borrower and Shellpoint declined to refund the fee when

challenged.

               c.      A publicly filed Amended Complaint in the matter of White v. NewRez LLC,

No. CV RDB-20-1259, 2020 WL 4748539 (D. Md. Aug. 17, 2020)(now pending in the Circuit

Court for Anne Arundel County, Maryland which challenges Shellpoint’s imposition of property

inspection fees onto a mortgage borrower’s account without the right to do so. Shellpoint’s motion

to dismiss that complaint in the state court, in which Shellpoint asserted and relied on a claimed

right to impose the fee was denied, and Shellpoint has refused its opportunity to timely cure the

issue by refunding the fee imposed even though it had a legal duty under Federal law to perform a

reasonable investigation into the borrower’s dispute).



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       19.     Pursuant to 15 U.S.C.A. § 1638(f) and 12 C.F.R. § 1026.41, the Defendants have a

duty of care, with respect to the residential mortgage loans of the Named Plaintiffs and the putative

class and subclass members, to provide them periodic statements which conspicuously and prom-

inently identify (i) the total sum of any fees or charges imposed by the Defendants since the prior

billing statement incidental to the mortgage loan, (ii) a breakdown of how the Defendants applied

fees and charges received incidental to the mortgage loan since the beginning calendar loan, and

(iii) a transaction activity which itemizes a credit or debt to the amount claimed due and incidental

to the mortgage loan by Defendants. Because of the remedial purposes of 15 U.S.C.A. § 1638(f)

and 12 C.F.R. § 1026.41 to provide conspicuous and prominent periodic statements to residential

mortgage loan borrowers, the Defendants are not permitted to add fees and charges to the periodic

statements of the residential mortgage loans of the Named Plaintiffs and the putative class and

subclass members which are not imposed and charged to the Named Plaintiffs and putative class

and subclass members’ mortgage loans. Maryland law incorporates these same requirements.

COM. LAW § 12-106.

       20.     Effective January 1, 2019, COM. LAW § 12-101(f) was amended by the General

Assembly to also expressly include persons who are licensed, like Shellpoint, and other persons

like Goldman Sachs, who are required to be licensed, as Maryland mortgage lenders (whether

licensed or not as a mortgage lender). See e.g. 2018 Maryland Laws Ch. 790 (H.B. 1297). Under

the prior definition, it has been held that COM. LAW § 12-101(f) applies to persons like Shellpoint

and Goldman Sachs. Kemp, 239 A.3d 798. See also Alexander v. Carrington Mortgage Services,

LLC, 2020 WL 7319252, at *7 (D.Md., 2020)(recognizing that a lender pursuant to COM. LAW §

12-101(f) for claims arising for violations of COM. LAW § 12-121 includes licensed servicers and

mortgage assignees).



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                          Factual Allegations Relevant to the Parkers

       21.     The Parkers acquired the Parker Property on or about December 17, 1993.

       22.     On or about December 7, 2005 the Parkers refinanced their prior mortgage loan

with Homecomings Financial Network, Inc. (“HFN”) related to the Parker Property by obtaining

an extension of credit for the sum of $193,482.00 from HFN (“Parker Loan”). HFN shortly after

December 7, 2005 assigned the Parker Loan to the Federal National Mortgage Association (“Fan-

nie Mae”). Fannie Mae assigned the Parker Loan to Goldman Sachs on August 13, 2019. At the

time of the assignment, Goldman Sachs authorized Nationstar Mortgage LLC d/b/a Mr. Cooper

for collection on its behalf but thereafter engaged Shellpoint to become the collector of the Parker

Loan as of October 4, 2019 on its behalf.

       23.     In the Parker Loan’s express terms and conditions, HFN and the Parkers agreed that

the loan would be governed by Maryland law. Specifically,

               a.      HFN and the Parkers agreed “[HFN and all of its assigns] may not charge

fees that are expressly prohibited…by [controlling applicable federal, state and local statutes, reg-

ulations, ordinances and administrative rules and orders (that have the effect of law) as well as all

applicable final, non-appealable judicial opinions].” See Deed of Trust at ¶ 14.

       24.     Nationstar (on behalf of and with the authorization of Fannie Mae) and the Parker’s

later, partially modified that Parker Loan on December 14, 2009 (“Loan Modification”). In that

partial modification, Nationstar and the Parkers agreed relevant to this dispute:

               a.      “That the [Parker Loan documents] are composed of duly valid, binding

agreements, enforceable in accordance with their terms and are hereby reaffirmed.” See Loan

Modification at ¶ 4(E).




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               b.     “that all terms and provisions of the [Parker Loan documents], except as

expressly modified by [the Loan Modification], remain in full force and effect…and that except

as otherwise specifically provided in, and as expressly modified by, [the Loan Modification], the

Lender and I will be bound by, and will comply with, all of the terms and conditions of the [Parker

Loan documents].” See Loan Modification at ¶ 4(F).

       25.     At no point did all authorized persons party to the Parker Loan ever agree to modify

or change the specific terms described in ¶¶ 23(a) or 24(b) supra. Fannie Mae, Nationstar, Shell-

point, and Goldman Sachs never entered into any written agreement with the Parkers or anyone

else to permit them disclaim the responsibilities and obligations agreed to by HFN (and any of its

successors) as described in ¶¶ 23(a) or 24(b) supra.

       26.     Shellpoint and Goldman Sachs are aware of the terms and conditions of the Loan

Modification because Shellpoint sent the Parkers a copy of it in correspondence dated June 11,

2020 and as successors and assignees of the Parker Loan as modified by the Loan Modification to

Nationstar they are bound by its terms. Further, as assigns and successors to the Nationstar As-

surance, Shellpoint and Goldman Sachs are also bound by the terms and conditions of that agree-

ment. Finally, Shellpoint and Goldman Sachs are also aware of the Parker Loan documents’ terms

and conditions and may not disregard them.

       27.     In a monthly, periodic statement to the Parkers from Shellpoint on behalf of Gold-

man Sachs dated November 13, 2019 it represented to them that it had charged and collected pay-

ment from them a fee for a property inspection that relates to the Parker Property and Parker Loan

in the sum of $105.00 on November 8, 2019.

       28.     In correspondence dated June 11, 2020 to the Parkers, Shellpoint with the authori-

zation of Goldman Sachs also represented the $105.00 property inspection fee imposed and



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collected by Shellpoint on November 8, 2019 related to the Parker Property and Parker Loan as

part of is Loan History Summary.

       29.     Nowhere in either the November 13, 2019 periodic statement to the Parkers or the

June 11, 2020 Loan History Statement did Shellpoint claim or represent to the Parkers that it did

not actually impose and collect from the Parkers the property inspection fee. In fact Shellpoint

claimed just the opposite in the November 13, 2019 periodic statement where it explained the total

amount due from the Parkers included $105.00 for the property inspection fee and it itemized the

transaction on the transaction activity portion of the same statement. If Shellpoint and Goldman

Sachs did not believe the Parkers owed this sum (but someone else owed it), then they had no right

to assert such a claim to the Parkers on the periodic statement.   15 U.S.C.A. § 1638(f) and 12

C.F.R. § 1026.41.

       30.     Neither did Shellpoint nor Goldman Sachs have any right to impose any property

inspection fees on the Parker Loan and the Parkers, as represented by Shellpoint was done on the

November 13, 2019 statement and the June 11, 2020 Loan History Summary because such fees

are barred by Maryland Law (i.e. COM. LAW § 12-121(b), Taylor, 344 Md. at 584, and Kemp, 239

A.3d 798) and the Nationstar Assurance. The inspection fee imposed and collected by Shellpoint

on behalf of Golden Sachs was also not related to (i) either the construction of a new home on the

Parker Property or any repairs, alternations, or other work required by Shellpoint or Goldman

Sachs to the Parker Property, or (ii) any appraisal of the real property by Shellpoint or Goldman

Sachs since the inspection was not conducted by a licensed Maryland appraiser but was completed

by Shellpoint’s vendor, Servicelink.

       31.     As shown supra, by imposing fees—i.e., property inspection fees—related to the

Parker Loan which the Defendants did not have a right to impose, the Parkers have been damaged



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by the Defendants’ illegal fee harvesting program which is designed simply to generate substantial

revenue the Defendants do not have the right to collect.

       32.     The Parker Loan is not satisfied.

       33.     The Parkers have been damaged and sustained losses as a proximate cause of Shell-

point’s improper, unfair, and/or deceptive practices in relation to the collection of the Parker Loan

on behalf of Goldman Sachs including the payment and collection of inspection fees not permitted

as a matter of Maryland law and the terms and conditions of the Parker Loan and the Nationstar

Assurance.

       34.     The Parkers are also entitled to statutory damages as discussed infra.

                                       CLASS ALLEGATIONS

       35.      The Named Plaintiffs bring certain claims, infra, on behalf of a class and subclass

of similarly situated persons related to Defendant Shellpoint and Goldman Sachs under

Fed.R.Civ.P. 23 defined as follows:

               a.      Shellpoint Inspection Fee Usury Class: The Parkers propose, as the def-

       inition of the Shellpoint Inspection Fee Class, that it be defined as follows:

               Those persons in the State of Maryland for whom (i) Shellpoint has acted
               as a maker or assignee of a mortgage loan related to a secured, mortgage
               loan at any time or a licensed mortgage servicer of a mortgage loan owner
               related to a secured, mortgage since January 1, 2019; (ii) where Shellpoint
               charged their mortgage loan accounts with property inspection fees and
               costs related to the mortgage loan; and (iii) the mortgage loan accounts had
               not been satisfied more than six months before the commencement of this
               action.

               b.      Goldman Sachs Inspection Fee Usury Subclass: The Parkers propose, as

       the definition of the Goldman Sachs Inspection Fee Usury Subclass, that it be defined

       as follows:




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               Those members of the Shellpoint Inspection Fee Usury Class for whom
               Shellpoint collects the subject mortgage loans on behalf of Goldman Sachs.


       36.     The Parkers qualify as members of each of the proposed class and subclass in the

preceding paragraph.

       37.     Excluded from each of the putative class and subclass are any person who falls

within the definitions if the person is (i) an employee or independent contractor of Shellpoint or

Goldman Sachs; (ii) a relative of an employee or independent contractor of the Shellpoint or Gold-

man Sachs; or (iii) an employee of the Court where this action is pending.

       38.     The proposed class and subclass definitions in ¶ 35 as limited by ¶ 37 may be

amended or modified from time to time.

       39.     The particular members of the (i) Shellpoint Inspection Fee Usury Class and (ii)

the Goldman Sachs Inspection Fee Usury Subclass (collectively referred to “Proposed Class and

Subclass”) are capable of being described without difficult managerial or administrative problems.

The members of the putative classes are also readily identifiable from the information and records

in the possession or control of Shellpoint or its affiliates and agents and from public records. Shell-

point is required to maintain this information for the entire class period. See e.g. Md. Code Regs.

09.03.06.04. Further, upon information and believe based on the experiences of the Parkers and

public records discussed herein, the Defendants have a pattern and practice of representing to bor-

rowers, including the Named Plaintiffs and the putative class and subclass members, that they owe

the sums claimed on the periodic statements related to property inspection fees and the class and

subclass members may be identified from these records as well.

       40.     The Proposed Class and Subclass are sufficiently numerous and exceed more than

fifty persons each, such that individual joinder of all members is impractical. This allegation is



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based on a data search of public records which identify public complaints have been filed against

Shellpoint showing that it services fifty or more residential, mortgage loans and was the maker of

more than 50 loans in Maryland; and Goldman Sachs has accepted assignment of more than 50

loans of residential borrowers in the State of Maryland.     This allegation is also based on the

representations and sworn statements of the Defendants in: (i) ECF. 1, Notice of Removal, (ii)

ECF 1-5, Affidavit of Amber Knight Costello, and (iii) ECF. 6, Defendants’ Responses to Standing

Order Concerning Removal

       41.     There are questions of law and fact common to the Proposed Class and Subclass

which predominate over any questions affecting only individual members of the putative class and

subclass. The wrongs alleged against Shellpoint and Goldman Sachs by the Proposed Class and

Subclass members and the remedies sought by Named Plaintiffs and the putative class and subclass

members against Shellpoint and Goldman Sachs are identical.

       42.     The common questions of law or fact for the Shellpoint Inspection Fee Usury Class

include but are not limited to:

               a.      Whether Shellpoint qualifies as a “collector” as that term is defined under

the MCDCA and is a person subject to the MCPA;

               b.      Whether Shellpoint’s conduct, directly or indirectly, violated the MCDCA

       and MCPA;

               c.      Whether Shellpoint is entitled to demand property preservation and/or in-

       spection fees on the mortgage loan accounts of the Shellpoint Inspection Fee Usury Class;

               d.      Whether Shellpoint is entitled to demand property preservation and/or in-

       spection fees on the mortgage loan accounts of the Shellpoint Inspection Fee Usury Class

       on behalf of Goldman Sachs and others;



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               e.      Whether Shellpoint is estopped from arguing that it is not subject to the

       property inspection fee bar stated in COM. LAW § 12-121(b) as an assignee of Nationstar

       and Nationstar’s agreement in the Nationstar Assurance;

               f.      Whether this Court may declare that Shellpoint’s practices and policies con-

       cerning the assessment of property preservation fees against the mortgage loan accounts of

       the Shellpoint Inspection Fee Usury Class members violate COM. LAW § 12-121(b), Taylor,

       344 Md. at 584, and Kemp, 239 A.3d 798;

               g.      Whether the inspection fees charges by Shellpoint on behalf of Goldman

       Sachs on the Named Plaintiffs’ and Shellpoint Inspection Fee Usury Class members’ ac-

       counts constitute “interest” as that term is defined in COM. LAW § 12-101(e) and therefore

       also constitute “usury” as that term is defined in COM. LAW § 12-101(k); and

               h.      Whether Shellpoint is liable for statutory damages pursuant to the Shell-

       point Inspection Fee Usury Class members pursuant to COM. LAW § 12-114(b)(1)(ii) for

       each instance in which Shellpoint has imposed inspection fees onto the mortgage accounts

       of the Shellpoint Inspection Fee Usury Class members.

               i.      Whether Shellpoint is liable for actual damages, attorneys’ fees, and costs

       pursuant to the Shellpoint Inspection Fee Usury Class members under the MCDCA and

       MCPA for the sum of inspection fees imposed and collected from it related to the mortgage

       accounts of the Shellpoint Inspection Fee Usury Class members.

       43.     The common questions of law or fact for the Goldman Sachs Inspection Fee Usury

Subclass include but are not limited to:

               a.      Whether Goldman Sachs qualifies as a “collector” as that term is defined

under the MCDCA and is a person subject to the MCPA;



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        b.     Whether Goldman Sachs’s conduct, directly or indirectly, violated the

MCDCA and MCPA;

        c.     Whether Shellpoint is acting as the authorized agent of Goldman Sachs in

relation to the Goldman Sachs Inspection Fee Usury Subclass;

        d.     Whether Goldman Sachs is estopped from arguing that it is not subject to

the property inspection fee bar stated in COM. LAW § 12-121(b) as an assignee of Nationstar

and Nationstar’s agreement in the Nationstar Assurance;

        e.     Whether Goldman Sachs is vicariously liable for the acts of Shellpoint on

its behalf in relation to the Goldman Sachs Inspection Fee Usury Subclass members;

        f.     Whether this Court may declare that Goldman Sachs’ practices and policies

concerning the assessment of inspection fees and costs against the mortgage loan accounts

of the Goldman Sachs Inspection Fee Usury Subclass members violate COM. LAW § 12-

121(b) and Taylor, 344 Md. at 584;

        g.     Whether the inspection fees charged by Goldman Sachs to the Named Plain-

tiffs’ and Goldman Sachs Inspection Fee Usury Subclass members’ accounts constitute

“interest” as that term is defined in COM. LAW § 12-101(e) and therefore also constitute

“usury” as that term is defined in COM. LAW § 12-101(k); and

        h.     Whether Goldman Sachs is liable for statutory damages pursuant to the

Goldman Sachs Inspection Fee Usury Subclass members pursuant to COM. LAW § 12-

114(b)(1)(ii) for each instance in which Goldman Sachs has imposed, directly or indirectly,

improper inspection fees upon the Goldman Sachs Inspection Fee Usury Subclass mem-

bers.




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               i.      Whether Goldman Sachs is liable for actual damages, attorneys’ fees, and

       costs pursuant to the Shellpoint Inspection Fee Usury Class members under the MCDCA

       and MCPA for the sum of inspection fees imposed and collected from it related to the

       mortgage accounts of the Shellpoint Inspection Fee Usury Class members.

       44.     Shellpoint’s and Goldman Sachs’ defenses (which defenses are denied) would be

typical or identical for each of the member of Proposed Class and Subclass and will be based on

the same legal and factual theories.

       45.     Certification of the Proposed Class and Subclass under Fed.R.Civ.P. 23 is appro-

priate as to the members of the Proposed Class and Subclass in that common questions predomi-

nate over any individual questions and a class action is superior for the fair and efficient adjudica-

tion of this controversy.

       46.     A class action will cause an orderly and expeditious administration of claims by the

members of the Proposed Class and Subclass and economies of time, effort and expenses will be

fostered and uniformity of decisions will be insured.

       47.     The only individual questions concern the identification of members of Proposed

Class and Subclass. This information can be determined by a ministerial examination of public

records or from Shellpoint’s business records or other sources, which are admissible as an excep-

tion to the hearsay rule and as a statement by a party.

       48.     The Named Plaintiffs’ class and subclass claims are typical of the claims of the

Proposed Class and Subclass pursuant to Fed.R.Civ.P. 23 since they are based on and arise out of

identical facts constituting the wrongful conduct of the Shellpoint and Goldman Sachs (directly

and indirectly).




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          49.   The Parkers will also fairly and adequately represent and protect the interests of the

Proposed Class and Subclass. The Parkers are similarly situated with, and have suffered similar

injuries as, the Proposed Class and Subclass they propose to represent. They have also retained

counsel experienced in consumer class actions including actions involving unlawful collection and

mortgage servicing practices. The Parkers do not have any interests which might cause them not

to vigorously prosecute this action or are otherwise adverse to the interests of the members of the

Proposed Class and Subclass. They feel that they and the putative class and subclass members

have been wronged, wish to obtain redress of the wrong, and want Shellpoint and Goldman Sachs

stopped from failing to comply with its mandatory duties that form the basis of the class claims.

          50.   The Proposed Class and Subclass members have suffered actual damages, losses,

and harm similar to those sustained by the Parkers, including statutory damages.

              COUNT I: CLAIM PURSUANT TO COM. LAW § 12-114(a)(1)(ii)
                        (On behalf of the Plaintiffs Individually and
 on behalf of the Shellpoint Inspection Fee Usury Class and the Goldman Sachs Inspection
                                     Fee Usury Subclass)

          51.   The Parkers adopt by reference the factual allegations contained in the preceding

paragraphs of this Amended Complaint with the same effect as if herein fully set forth. This claim

is brought on behalf of the Parkers individually and as the Named Plaintiffs on behalf of the Shell-

point Inspection Fee Usury Class and the Goldman Sachs Inspection Fee Usury Subclass against

Shellpoint and Goldman Sachs respectfully.

          52.   As the maker and/or servicer of the Named Plaintiffs’ and Shellpoint Inspection

Fee Usury Class members’ loans, Shellpoint qualifies as a lender pursuant to COM. LAW § 12-

101(f).

          53.   As the maker and/or assignee of the Named Plaintiffs’ and Goldman Sachs Inspec-

tion Fee Usury Subclass, Goldman Sachs qualifies as a lender pursuant to COM. LAW § 12-101(f).

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        54.    COM. LAW § 12-121(b), Taylor, 344 Md. at 584, and Kemp, 239 A.3d 798 prohibit

a lender (and/or its assignee) or servicer from imposing fees related to property inspections onto

the Named Plaintiffs’ and Shellpoint Inspection Fee Usury Class and the Goldman Sachs Inspec-

tion Fee Usury Subclass members’ mortgage loans after the origination of the subject loans. COM.

LAW § 12-121 does not exempt Shellpoint or Goldman Sachs from its express prohibition.

        55.    The mortgage contracts governing the relationships between the Named Plaintiffs’

and Shellpoint Inspection Fee Usury Class and the Goldman Sachs Inspection Fee Usury Subclass

members’ also incorporate all Maryland laws and judicial decisions and have not been modified

to disavow Maryland law in any respect. Such amendments would not be enforceable even if they

existed (and they do not) since the Named Plaintiffs’ and Shellpoint Inspection Fee Usury Class

and the Goldman Sachs Inspection Fee Usury Subclass members’ loans are all located in Mary-

land.

        56.    Shellpoint and Goldman Sachs were not entitled to require any charge to the mort-

gage loan accounts of the Shellpoint Inspection Fee Usury Class and the Goldman Sachs Inspec-

tion Fee Usury Subclass members’ mortgage loans related to a purported inspection fee of the

borrowers’ property but did so anyway in violation of COM. LAW § 12-121(b), Taylor, 344 Md. at

584, and Kemp, 239 A.3d 798.

        57.    Subtitle I of Title 12 of the Commercial Law Article barred defendants from im-

posing and collecting the property inspection fee since “usury” is defined broadly as charging an

amount in “interest” greater than what Subtitle 1 permits and “interest” likewise is broadly defined

as including not only the interest charged on a loan, but also other fees and charges. See e.g. COM.

LAW § 12-101(e)(m). Charging the Named Plaintiffs and putative class and subclass members

with property inspection fees barred by COM. LAW § 12-121(b) are charges in an amount greater



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than allowed under Maryland law and subject to claims asserted by the named Plaintiffs and the

Shellpoint Inspection Fee Usury Class and the Goldman Sachs Inspection Fee Usury Subclass

members’ pursuant to COM. LAW § 12-114(a)(1)(ii). See also Kemp, 239 A.3d at 808.

       58.     At all times relevant and material to this action, Shellpoint and Goldman Sachs

have known or should have known that neither were permitted to require the imposition of inspec-

tion fees to the mortgage accounts of the Named Plaintiffs and the Shellpoint Inspection Fee Usury

Class and the Goldman Sachs Inspection Fee Usury Subclass members’ mortgage loans since all

persons are expected to know the law.

       59.     COM. LAW § 12-114(a)(1)(ii) provides that Shellpoint shall forfeit to borrowers like

the Named Plaintiffs and Shellpoint Inspection Fee Usury Class members the sum of $500 for any

violation, including the assessment of so-called inspection fees, of the subtitle including COM.

LAW § 12-121(b).

       60.     COM. LAW § 12-114(a)(1)(ii) provides that Goldman Sachs shall forfeit to borrow-

ers like the Named Plaintiffs and the Goldman Sachs Inspection Fee Usury Subclass members the

sum of $500 for any violation, including the assessment of so-called inspection fees, of the subtitle

including COM. LAW § 12-121(b).

       61.     Goldman Sachs is also vicariously liable for the damages sustained by the Goldman

Sachs Inspection Fee Usury Subclass as a result of Shellpoint’s actions in violation of COM. LAW

§ 12-121(b) on its behalf in relation to the Goldman Sachs Inspection Fee Usury Subclass.

       62.     The Named Plaintiffs and Shellpoint Inspection Fee Usury Class members are en-

titled to the sum of $500 for each instance in which Shellpoint has imposed inspection fees against

the mortgage loan accounts of the Named Plaintiffs and the Shellpoint Inspection Fee Usury Class




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members in violation of COM. LAW § 12-121(b) whether the Named Plaintiffs and Shellpoint In-

spection Fee Usury Class members paid the assessment or not.

       63.     The Named Plaintiffs and Goldman Sachs Inspection Fee Usury Subclass members

are entitled to the sum of $500 for each instance in which Goldman Sachs has imposed, directly

or indirectly, inspection fees against the mortgage loan accounts of the Named Plaintiffs and the

Goldman Sachs Inspection Fee Usury Subclass members in violation of COM. LAW § 12-121(b)

whether the Named Plaintiffs and Goldman Sachs Inspection Fee Usury Subclass members paid

the assessment or not.

   COUNT II: VIOLATIONS OF MARYLAND’S CONSUMER DEBT COLLECTION
 ACT(“MCDCA”), COM. LAW § 14-201, et seq., & MARYLAND CONSUMER PROTEC-
                    TION ACT (“MCPA”), COM. LAW §§ 13-101 et seq.
                        (On behalf of the Plaintiffs Individually and
 on behalf of the Shellpoint Inspection Fee Usury Class and the Goldman Sachs Inspection
             Fee Usury Subclass alternatively to the claims asserted in Count I)

       64.     The Parkers adopt by reference the factual allegations contained in the preceding

paragraphs of this Amended Complaint with the same effect as if herein fully set forth. This claim

is brought on behalf of the Parkers individually and as the Named Plaintiffs on behalf of the Shell-

point Inspection Fee Usury Class and the Goldman Sachs Inspection Fee Usury Subclass against

Shellpoint and Goldman Sachs respectfully. This count is brought in the alternative pursuant to

Fed. R. Civ. P. 8(d) to the relief sought in Count I of this pleading.

       65.      At all times described herein since October 1, 2018, Shellpoint and Goldman Sachs

have acted as collectors by directly or indirectly using methods of collection through the imposi-

tion and collection of property inspection fees that are barred as a matter of law onto the mortgage

accounts of borrowers such as the Parkers and members of the Shellpoint Inspection Fee Usury

Class and the Goldman Sachs Inspection Fee Usury Subclass.




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       66.     The Named Plaintiffs’ and the Proposed Class and Subclass members’ mortgage

loans were used for personal, consumer purposes related to their Property. COM. LAW §14-201(b).

       67.     Shellpoint and Goldman Sachs are aware of the Federal and State laws governing

its activities described herein but recklessly disregarded those laws and duties without any consid-

eration of the negative consequences to the Parkers or Shellpoint Inspection Fee Usury Class and

the Goldman Sachs Inspection Fee Usury Subclass members respectfully.

       68.     Shellpoint, directly and on behalf of Goldman Sachs and others indirectly, also at-

tempted to collect and did in fact collect unlawful property inspection fees from the Named Plain-

tiffs and the Shellpoint Inspection Fee Usury Class and the Goldman Sachs Inspection Fee Usury

Subclass members in violation of Maryland law which governs their mortgage loans.

       69.     Maryland’s debt collection and mortgage lending laws and Shellpoint’s and Gold-

man Sachs’ duties under Maryland and Federal law do not permit them to utilize methods and

means of collection not permitted by law or the relationship governing the parties. Shellpoint and

Goldman Sachs know the law. However, each knowingly and recklessly attempted to interfere or

otherwise infect the Parker’s and the Shellpoint Inspection Fee Usury Class and the Goldman

Sachs Inspection Fee Usury Subclass members’ rights on the basis of alleged sums not lawfully

due. By such acts Shellpoint and Goldman Sachs have engaged in conduct which violates §§ 804

through 812 of the Federal Fair Debt Collection Practices Act including but not limited to 15

U.S.C. §§ 1692e, § 1692f. COM LAW §14- 202(11).

       70.     Shellpoint’s and Goldman’s violations of the MCDCA are also per se violations of

the MCPA. COM. LAW § 13-301(14)(iii).




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       71.     The mortgage loan servicing and collection practices described herein by Shellpoint

and Goldman Sachs, as set forth herein, are governed by the Maryland Consumer Protection Act

(“MCPA”), COM. LAW. § 13-101, et seq.

       72.     COM. LAW. § 13-303 prohibits unfair or deceptive trade practices in the extension

of consumer credit or collection of consumer debts. The collection and attempted collection of the

property inspection fees by Shellpoint and Goldman Sachs (indirectly through its agent Shellpoint)

from the Named Plaintiffs and the Shellpoint Inspection Fee Usury Class and the Goldman Sachs

Inspection Fee Usury Subclass members related to the Defendants’ consumer, debt collection prac-

tices involves both the extension of credit and the collection of debts.

       73.     COM. LAW. § 13-303 also prohibits unfair or deceptive trade practices in the sale or

provision of consumer services, such as those provided by Shellpoint on its behalf and on behalf

of Goldman Sachs in relation to the Named Plaintiffs and the Shellpoint Inspection Fee Usury

Class and the Goldman Sachs Inspection Fee Usury Subclass members.

       74.     The MCPA defines unfair or deceptive trade practices to include, inter alia, the

following: (a) False, falsely disparaging, or misleading oral or written statement, visual description

or other representation of any kind which has the capacity, tendency or effect of deceiving or

misleading consumers; and (b) Failure to state a material fact if the failure deceives or tends to

deceive. COM. LAW §§13-301(1) and (3).

       75.     Shellpoint’s and Goldman Sachs’ acts and omissions described hereininclude but

are not limited to seeking and demanding and collecting property inspection fees not lawfully im-

posed on Maryland borrowers and therefore not due from the Parkers and the Shellpoint Inspection

Fee Usury Class and the Goldman Sachs Inspection Fee Usury Subclass members, constitutes




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unfair and deceptive trade practices in violation of COM. LAW § 13-301(1)(3) and COM. LAW §§13-

303(4)(5).

       76.     The Parkers and the Shellpoint Inspection Fee Usury Class and the Goldman Sachs

Inspection Fee Usury Subclass members reasonably relied upon the direct and indirect material

acts, actions, and omissions of Shellpoint and Goldman Sachs as exemplified supra and further

demonstrated herein (i) by their communications with Shellpoint and Goldman Sachs, and (ii) their

payment of the illegal property inspection fees fees demanded by Shellpoint and Goldman Sachs

through Shellpoint. Shellpoint’s acts and omissions, on its behalf and on behalf of Goldman Sachs,

are simply unreasonable, unfair, abusive, and deceptive.

       77.     Had Shellpoint and Goldman Sachs not acted unfairly and deceptively, the Parkers

and the Shellpoint Inspection Fee Usury Class and the Goldman Sachs Inspection Fee Usury Sub-

class members would not have suffered the damages and losses they have described supra.

       78.     Plaintiffs have pled sufficient facts to put Shellpoint and Goldman Sachs on notice

as to the claims against each as exemplified supra (i.e. dates of key acts and representations of

Shellpoint and Goldman Sachs and its agents and representatives and platforms; and the regulatory

and statutory duties of Shellpoint and Goldman Sachs) which each simply ignored and thereby

infected the subject transactions to ensure harm and damage to the Parkers and the Shellpoint

Inspection Fee Usury Class and the Goldman Sachs Inspection Fee Usury Subclass members.

       79.     In the alternative that the Court finds Goldman Sachs is not directly or vicariously

liable to the Parker’s claims under the MCDCA and MCPA for the acts and omissions of Shell-

point on its behalf, Goldman Sachs is liable for the acts and omissions under the pursuant to the

doctrine of respondeat superior for the acts and omissions of Shellpoint acting on its behalf since

it engaged and authorized Shellpoint to communicate with the Parkers and the Goldman Sachs



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Inspection Fee Usury Subclass members in relation to their mortgages subject to this action and

did not utilize reasonable standards and methods to ensure that Shellpoint was not imposing and

collecting sums from its customers which are not permitted under Maryland laws governing its

relationship with the Shellpoint Inspection Fee Usury Class and the Goldman Sachs Inspection

Fee Usury Subclass members.

                                   PRAYERS FOR RELIEF

       A. WHEREFORE, Pursuant to Count I of this Amended Class Action Com-

              plaint, Named Plaintiffs request the Court to certify the Shellpoint Inspec-

              tion Fee Usury Class and the Goldman Sachs Inspection Fee Usury Sub-

              class pursuant to Fed.R.Civ.P. 23 and appoint the Named Plaintiffs as

              class representatives and the undersigned counsel as Class Counsel for

              the class and subclass;

       B. WHEREFORE, Pursuant to Count I of this Amended Class Action Com-

              plaint, Named Plaintiffs and the Shellpoint Inspection Fee Usury Class

              members ask this Court to determine the issue of Shellpoint’s liability to

              the Shellpoint Inspection Fee Usury Class members and grant a money

              judgment in their favor and against Shellpoint and order Defendant Shellpoint

              to pay and forfeit pursuant to COM. LAW § 12-114(a)(1)(ii) to the Named

              Plaintiffs and the Shellpoint Inspection Fee Usury Class members $500

              for each violation of COM. LAW § 12-121(b) and reasonable attorney fees

              and costs for the imposition of property inspection fees by it onto the ac-

              counts of the Named Plaintiffs and the Shellpoint Inspection Fee Usury

              Class members in a total sum in excess of $75,000.00 (on a aggregated


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      basis for the Plaintiffs and Shellpoint Inspection Fee Usury Class mem-

      bers).

C. WHEREFORE, Pursuant to Count I of this Amended Class Action Com-

      plaint, Named Plaintiffs and the Goldman Sachs Inspection Fee Usury

      Subclass members ask this Court to determine the issue of Goldman

      Sachs’ liability to the Goldman Sachs Inspection Fee Usury Subclass

      members and grant a money judgment in their favor and against Goldman Sachs

      and order Defendant Goldman Sachs to pay and forfeit pursuant to COM.

      LAW § 12-114(a)(1)(ii) to the Named Plaintiffs and the Goldman Sachs

      Inspection Fee Usury Subclass members $500 for each violation of COM.

      LAW § 12-121(b) and reasonable attorney fees and costs for the assess-

      ment of property inspection fees to it, directly or indirectly, in a total sum

      in excess of $75,000.00 (on a aggregated basis for the Plaintiffs and the

      Goldman Sachs Inspection Fee Usury Subclass members). In the alter-

      native, Named Plaintiffs and the Goldman Sachs Inspection Fee Usury

      Subclass request that the Court find Goldman Sachs vicariously liable to

      Goldman Sachs Inspection Fee Usury Subclass members for the statutory

      damages they are entitled to as a result of Shellpoint’s violations on be-

      half of Goldman Sachs.

D. WHEREFORE, Pursuant to Count II of this Amended Class Action Com-

      plaint and in the alternative to the relief sought in Count I, Named Plain-

      tiffs request the Court to certify the Shellpoint Inspection Fee Usury Class

      and the Goldman Sachs Inspection Fee Usury Subclass pursuant to


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      Fed.R.Civ.P. 23 and appoint the Named Plaintiffs as class representatives

      and the undersigned counsel as Class Counsel for the class and subclass;

E. Pursuant to Count II of this Amended Class Action Complaint and in the

      alternative to the relief sought in Count I, Named Plaintiffs and the Shell-

      point Inspection Fee Usury Class members ask this Court to determine

      the issue of Shellpoint’s liability to the Shellpoint Inspection Fee Usury

      Class members under the MCDCA and MCPA and award (i) actual dam-

      ages for its violations of COM LAW §14-202(11), COM. LAW § 13-

      301(1)(3), and COM. LAW §§13-303(4)(5) pursuant to COM. LAW § 14-

      203 and COM. LAW § 14-408 in a sum in excess of $75,000 (on a aggre-

      gated basis for the Plaintiffs and Shellpoint Inspection Fee Usury Class)

      and (ii) reasonable attorney fees and reasonable costs as permitted and

      authorized by COM. LAW § 13-301(14)(iii) and COM. LAW § 13-408(b).

F.    Pursuant to Count II of this Amended Class Action Complaint, Named

      Plaintiffs and the Goldman Sachs Inspection Fee Usury Subclass mem-

      bers also ask this Court to determine the issue of Goldman Sachs’ liability

      to the Goldman Sachs Inspection Fee Usury Subclass under the MCDCA

      and MCPA and award (i) actual damages for its violations of COM LAW

      §14-202(11), COM. LAW § 13-301(1)(3), and COM. LAW §§13-303(4)(5)

      pursuant to COM. LAW § 14-203 and COM. LAW § 14-408 in a sum in

      excess of $75,000 (on a aggregated basis for the Plaintiffs and Goldman

      Sachs Inspection Fee Usury Subclass members) and (ii) reasonable attor-

      ney fees and reasonable costs as permitted and authorized by COM. LAW


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               § 13-301(14)(iii) and COM. LAW § 13-408(b).

       G. WHEREFORE, Named Plaintiffs request the Court provide such other or fur-

               ther relief as the Court deems appropriate including attorney fees and

               costs in relation to Count of this Complaint.



                                                 Respectfully submitted,

                                                 /s/ Phillip R. Robinson
                                                 Phillip R. Robinson
                                                 Bar No. 27824
                                                 Consumer Law Center LLC
                                                 8737 Colesville Road, Suite 308
                                                 Silver Spring, MD 20910
                                                 (301) 448-1304

                                                 Attorneys for the Plaintiffs and Classes


                                  CERTIFICATE OF SERVICE

       I do hereby certify that a copy of the foregoing and attached Exhibits were sent to all par-

ties and counsel of record in this matter when filed with the Court’s CM/ECF system. I further

certify that a paper copy of the same will be hand delivered to the Court within 48 hours of the

filing in care of the Clerk of the Court.

                                                 /s/ Phillip R. Robinson
                                                 Phillip R. Robinson




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